                                                                                December 30, 2024



           VIA ECF

           Honorable Ronnie Abrams
           United States District Court for the
           Southern District of New York
           500 Pearl Street
           New York, NY 10007-1312


           Re: Doe v. Combs et al., 1:24-cv-7973


           Dear Judge Abrams:

                   As you know, our firm represents Plaintiff John Doe in the above-captioned action. We
           write to request an adjournment of the January 10th, 2025 conference at this time. We have been
           in negotiations with defendants’ counsel regarding service of process, scheduling and case
           management across numerous related actions, and have faced delays caused by defendant Combs
           refusing to leave his cell to accept service. We believe that we have now reached an agreement in
           principle with defendants’ counsel but are continuing to work out scheduling details in this and
           other cases.

                   Moreover, Mr. Buzbee, who is the lead attorney in these matters, would like to be present
           at the conference but is unable to attend the on January 10, 2025. If Your Honor would be so
           inclined to grant a brief adjournment to February, that would be appreciated by the parties.

                   We thank the Court for your time and attention to this matter.

Application granted. The conference scheduled for
January 10, 2025 is hereby adjourned to February 7,
2025 at 10:00 a.m.                                                   Respectfully,
                                                                  /s/ Antigone Curis
SO ORDERED.                                                          Antigone Curis

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Hon. Ronnie Abrams
December 31, 2024
